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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

CASEY CUNNINGHAM et al.,
                                                  Civil Action No. 16-cv-6525
                 Plaintiffs,

       v.

                                                  Hon. P. Kevin Castel
CORNELL UNIVERSITY et al.,

                 Defendants.




                  MEMORANDUM OF LAW IN SUPPORT OF
              CORNELL DEFENDANTS’ MOTION TO EXCLUDE
      PLAINTIFFS’ EXPERTS WENDY DOMINGUEZ AND GERALD BUETOW




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                                         INTRODUCTION

         The search for truth is not served by an expert witness who flexibly contorts her standard

of analysis to suit the interests of the party paying her. Plaintiffs’ attempt to rely on such experts

to prop up their speculative claims with some measure of “expert” testimony should be rejected

by this Court, and the Cornell Defendants’ motion to exclude should be granted.

         To support their claim that Cornell should have removed the CREF Stock Account and

the TIAA Real Estate Account from the Plans’ investment lineup, Plaintiffs have disclosed

proposed expert testimony from Wendy Dominguez. Outside of the litigation context,

Dominguez serves as a fiduciary to a university 403(b) retirement plan that offers both CREF

Stock and TIAA Real Estate as investment options; she authored a 2014 study detailing the

ubiquity of these investment options; and she has assisted a university 403(b) retirement plan in

adding TIAA Real Estate to its investment lineup. In the litigation context, however, Dominguez

intends to testify that CREF Stock and TIAA Real Estate are imprudent offerings.

         Expert testimony is supposed to assist the trier of fact by supplying specialized

knowledge developed outside the context of litigation. Dominguez developed a process for

evaluating investment funds outside the context of litigation, using that process when serving as

a fiduciary herself—but she chose not to follow that process when opining for Plaintiffs in this

case.

         Perhaps Lewis Carroll would appreciate the irony of a witness testifying that no

“reasonable” individual would do what she herself does. But Daubert does not permit Plaintiffs

to litigate their case through the looking glass; rather, Dominguez’s opinion (and the separate

expert opinion of Dr. Gerald Buetow, which is offered to compute “damages” based on

Dominguez’s opinion) must be stricken from the record and excluded at any trial on the merits.



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                                         BACKGROUND

A.     Plaintiffs’ Claims

       Two defined contribution retirement plans are at issue in this case: the Cornell University

Retirement Plan for Employees of the Endowed Colleges at Ithaca and the Cornell University

Tax-Deferred Annuity Plan (the “Plans”). The Plans are individual-account, defined-contribution

retirement plans organized under section 403(b) of the Internal Revenue Code. In such plans,

fiduciaries select a menu of investment options; plan participants then elect how to invest their

accounts among the available options. Reflecting the diversity of its participant population,

Cornell offers a wide array of annuities and mutual funds to Plan participants. See Dkt. 107 at 3

(noting variety of investment options available to participants).

       In 2016, five individual participants in the Plans (“Plaintiffs”) filed suit on behalf of a

putative class of Plan participants. As amended, their complaint alleges that the Cornell

Defendants and the retirement plan consultant Cornell retained, defendant Capfinancial Partners

LLC (“CAPTRUST”), violated various provisions of the Employee Retirement Income Security

Act of 1974 (“ERISA”). Although the majority of Plaintiffs’ claims were dismissed with

prejudice for failure to state a claim, the Court allowed Plaintiffs to proceed to discovery on two

claims alleging breach of fiduciary duty: one related to allegedly excessive administrative fees

(Count III) and one related to the inclusion of allegedly imprudent investment options (Count V).

Dkt. 107 at 26 (also allowing Count VII to proceed to the extent the Plan Administrator allegedly

failed to monitor fiduciaries regarding the allegations in Counts III and V) . The expert opinions

at issue in this Motion relate only to Count V.

       Count V focuses on two of the Plans’ most popular investment options: the CREF Stock

Account and the TIAA Real Estate Account, both variable annuities. In their complaint,

Plaintiffs allege that the CREF Stock Account failed to live up to its billing as “a domestic equity

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investment in the large cap blend Morningstar category.” Dkt. 81, at 96 ¶ 173.1 Plaintiffs allege

that “[h]ad Defendants engaged in a prudent investment review and monitoring process, it [sic]

would have determined that the CREF Stock Account would not be expected to outperform the

large cap index after fees.” Id. ¶ 185.

       With respect to TIAA Real Estate, Plaintiffs’ complaint alleges that it was an imprudent

investment offering because it supposedly does not compare favorably to the Vanguard REIT

Index. Plaintiffs allege that “Defendants failed to conduct such a [monitoring] process and

continue to retain the TIAA Real Estate Account as an investment option in the Plans, despite its

continued dramatic underperformance and far higher cost compared to available investment

alternatives.” Dkt. 81, ¶ 201.

       Plaintiffs’ complaint also includes three other relevant theories, that Defendants breached

their fiduciary duties by:

               (2) selecting and retaining investment options, including actively
               managed funds, with high fees and poor performance relative to
               other investment options that were readily available to the Plans;

               (3) selecting and retaining high-cost retail mutual funds instead of
               materially identical lower cost institutional mutual funds;

               …

               (5) failing to consolidate the Plans’ investment options into a “core
               lineup,” depriving the Plans of their ability to qualify for lower
               cost share classes of certain investments and causing confusion
               among plan participants; [and]

               (6) failing to monitor any of the Plans’ options until October 1,
               2014, and monitoring only “core” investment options after that
               date.

Dkt. 107, at 13–14 (summarizing ¶¶ 131–34 of the complaint).


1
  The paragraphs in Plaintiffs’ operative complaint are not properly numbered; this citation refers
to the paragraph numbered 173 that appears on page 96.
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       The Court granted in part and denied in part the Cornell Defendants’ motion to dismiss.

As relevant, the Court permitted Plaintiffs to proceed on their “allegations that specific funds

underperformed over one, five and ten year periods and that lower-cost, higher performing

investments were available.” Id. at 14. The Court also permitted Plaintiffs’ mutual-fund share

class claim to proceed. Id. at 16–17. But the Court dismissed with prejudice the failure-to-

consolidate and failure-to-monitor claims. Id. at 14, 18. Subsequently, the Court ruled that some

of Plaintiffs’ claims, including part of their claim for damages arising from the share class of

certain investment options offered by the Plans, would be tried to a jury. Dkt. 198, at 4, 8.

B.     Plaintiffs Narrow Their Claims

       After the motion to dismiss was resolved, the case proceeded into discovery. The parties

began by exchanging Rule 26(a)(1) disclosures. Among the required disclosures is “a

computation of each category of damages claimed by the disclosing party.” Fed. R. Civ. P.

26(a)(1)(iii). Plaintiffs disclosed “approximately $192 million to $250.1 million” in damages

stemming from their CREF Stock claim and “approximately $10.7 million” in damages

stemming from their TIAA Real Estate claim. They also disclosed approximately $1.4 million in

damages resulting from the supposed selection of undesirable share classes. Dkt. 167–7, at 7. As

the Court has recognized, they did not disclose any damages related to claims involving any

other funds. Dkt. 209 at 18.

       Throughout fact discovery, Plaintiffs pursued the claims reflected in their Rule 26(a)(1)

disclosures. At no point during the fact discovery period did Plaintiffs supplement their

disclosures. In July 2018, less than a month before the close of fact discovery, Plaintiffs

recognized the limitations on the claims that they had pursued: “At present, Plaintiffs have

asserted claims for underperformance damages arising from two options: the CREF Stock

Account and TIAA Real Estate Account.” Dkt. 189, at 6. Plaintiffs then purported to reserve the
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right to “supplement their initial disclosures” “[t]o the extent additional discovery and expert

analysis reveals further underperformance losses related to other imprudent options.” Id. Such

reservation contradicts the “duty to disclose” set forth in Rule 26(a)(1), as well as this Court’s

Civil Case Management Plan and Scheduling Order dated December 4, 2017 (Dkt. 116), which

required all fact discovery to be completed by August 3, 2018. Given the detailed allegations

Plaintiffs included in 257 paragraphs of the amended complaint (Dkt. 81), and the nearly two

years Plaintiffs had from the original date of filing (Dkt. 1) to plan and complete discovery, there

is no justifiable reason for failing to disclose aspects of their damage claims that Plaintiffs

allegedly intended but failed to pursue before the close of fact discovery.

C.     Plaintiffs Disclose Their Experts

       Plaintiffs served four expert reports on August 24, 2018, including the two at issue here.

       1.      Wendy Dominguez is the president of Innovest Portfolio Solutions, which

provides investment counseling services to retirement plans in and around Colorado. She was

engaged by Plaintiffs in August 2018 and served a 45-page report later that same month.

Deposition of Wendy Dominguez (Oct. 14, 2018) 19:6–10 (Ex. A). She does not claim to have

written the report; rather, she acknowledged that she “worked together with counsel in putting

together the first draft.” Id. at 212:13–15. The final product purported “to provide expert analysis

and opinions related to the investment decisions and related matters relative to” the Plans. Expert

Report of Wendy Dominguez ¶ 1 (Ex. B).

       In particular, her opinion covers five topics: (a) whether Cornell should have offered

CREF Stock and TIAA Real Estate; (b) whether Cornell should have moved to a “single best of

class line up”; (c) whether Cornell conducted appropriate monitoring of its investment lineup; (d)

whether Cornell appropriately responded to information provided by CAPTRUST on July 31,

2013; and (e) whether Cornell offered the appropriate mutual fund share classes from August
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2010 through December 2011.

       2.      Gerald Buetow was retained by Plaintiffs to compute damages based on

Dominguez’s opinion. That assignment is markedly different from his engagement by the same

counsel in Sacerdote v. New York Univ., 328 F. Supp. 3d 273, 311 n.110 (S.D.N.Y. 2018), in

which Buetow “was retained by plaintiffs to opine on the fiduciary process and investment

decisions made by NYU and its officers and trustees.” In Sacerdote, Judge Forrest “discount[ed]

Buetow’s testimony” because “his analysis of fund performance did not account for a number of

important factors and the Court [was] not persuaded that he compared the funds in question to

appropriate benchmarks.” Id. Buetow purports only to be computing “damages”—not to be

lending any expertise; as demonstrated herein, however, even if Dominguez’s opinions had any

basis, Buetow’s calculations rely on unsupported and unsupportable additional assumptions.

D.     Plaintiffs Attempt To Expand Their Claims After Discovery

       On October 18, 2018, the day expert discovery was complete, Plaintiffs served a

supplement to their Rule 26(a)(1) disclosures. Through the supplement, Plaintiffs amended their

computation of damages to “incorporate the Confidential Expert Reports of Dr. Gerald Buetow

and Wendy Dominguez issued on August 24, 2018 and Confidential Expert Rebuttal Reports of

Wendy Dominguez and Dr. Gerald Buetow issued on September 26, 2018 providing a

computation of damages claimed by Plaintiffs.” Pls.’ Supp. Rule 26(a)(1) Disclosures at 4 (Oct.

18, 2018) (Ex. C). Although characterized as a “computation of damages,” in truth, Plaintiffs’

supplement was an expansion of their claims after fact discovery had ended.

       More specifically, on the day of the close of all discovery, Plaintiffs supplemented their

damages computation to include losses on hundreds of funds, not just the two funds initially

disclosed that had been the focus of factual discovery. Neither the computations, nor the expert

analysis upon which those computations are based, should be in the record before this Court.
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                                           ARGUMENT

        None of the opinions offered by Dominguez or Buetow is admissible. This Court should

therefore exercise its gatekeeping function under Daubert v. Merrell Dow Pharm., Inc., 509 U.S.

579 (1993), to exclude their reports. In particular, Dominguez has followed a strikingly

unreliable course in offering opinions on CREF Stock and TIAA Real Estate that deviate

dramatically from her professional practices, contravening the requirement that a testifying

expert apply the same methodology, and the same level of rigor, to generate litigation-related

opinions as she does in her normal work. She has likewise violated her customary practices in

assessing the share classes of mutual funds offered by the Plans. The rest of her report should be

stricken because it covers topics that this Court has already dismissed or that Plaintiffs have

forfeited.

        Buetow’s report should also be stricken. He claims that his report is derivative of

Dominguez’s, so the failure of her report cripples his; in any event, despite his claims that he is

merely engaging in computations dictated by Dominguez’s report, Buetow actually makes a

series of substantive determinations for which he has failed to disclose any reliable basis.

I.      DOMINGUEZ’S REPORT SHOULD BE STRICKEN.

        A.     Dominguez failed to follow a reliable methodology in evaluating CREF Stock
               and TIAA Real Estate.

        Dominguez is the president of an investment advisory firm with an established

methodology for assessing the appropriateness of investment options. Ex. A, at 40–45. If

Dominguez had followed that methodology, she would have concluded—as virtually all

university fiduciaries did during the relevant time period—that CREF Stock and TIAA Real

Estate were prudent investment options. So Dominguez skipped the rigor that she offers to her

professional clients and developed a superficial justification, paid for by Plaintiffs’ counsel, to


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support the theories in Plaintiffs’ complaint.

       The trial court must ensure “that an expert’s testimony both rests on a reliable foundation

and is relevant to the task at hand.” Daubert, 509 U.S. at 597 (1993). Accordingly, when parties

seek to introduce expert testimony, “the district court is the ultimate ‘gatekeeper.’” United States

v. Williams, 506 F.3d 151, 160 (2d Cir. 2007) (citing Fed. R. Evid. 104(a)). In carrying out this

gatekeeping duty, the district court should focus its inquiry on the indicia of reliability identified

in Federal Rule of Evidence 702: “(1) whether the witness is qualified to be an expert; (2)

whether the opinion is based upon reliable data and methodology; and (3) whether the expert’s

testimony on a particular issue will assist the trier of fact.” Marini v. Adamo, 995 F. Supp. 2d

155, 179 (E.D.N.Y. 2014), aff’d, 644 F. App’x 33 (2d Cir. 2016) (citing Nimely v. City of New

York, 414 F.3d 381, 396 (2d Cir. 2005)). That standard is applied more strictly, and the burden of

proving the expert should be permitted to testify is higher, when (as here) the expert’s testimony

is to be presented to a jury, rather than at a bench trial. See, e.g., Chill v. Calamos Advisors LLC,

2018 WL 4778912, at *6 (S.D.N.Y. 2018) (noting that, in a jury trial, judges must “serve in a

gatekeeping role” in order “to help the jury evaluate [the expert’s] foreign experience”) (citation

omitted); Passlogix Inc. v. 2FA Tech., LLC, 708 F. Supp. 2d 378, 396 (S.D.N.Y. 2010)

(articulating different standards for admissibility of expert testimony in bench and jury trials).

       As relevant here, a trial judge must “make certain that an expert … employs in the

courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999). Thus, for example,

courts ask whether the expert’s testimony “is based directly on legitimate, preexisting research

unrelated to the litigation,” because the presence (or absence) of such a basis “provides the most

persuasive basis for concluding that the opinions [the expert] expresses were ‘derived by the



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scientific method.’” Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1317 (9th Cir. 1995),

aff’d, 509 U.S. 579; see also, e.g., Meineker v. Hoyts Cinemas Corp., 154 F. Supp. 2d 376, 380

(N.D.N.Y. 2001) (rejecting expert testimony because expert had not “based his opinion on

existing, independent research,” and there was no other evidence “that ‘the testimony is based on

scientifically valid principles’” (internal citation omitted)). Here, the surest indication of the

defects in Dominguez’s report are the disparities between her methodology for Innovest clients

and her methodology for Plaintiffs’ counsel. See Amorgianos v. Nat’l R.R. Passenger Corp., 303

F.3d 256, 269 (2d Cir. 2002) (affirming exclusion of expert “due to his failure to apply his stated

methodology”); In re Mirena IUS Levonorgestrel-Related Prods. Liab. Litig. (No. II), -- F. Supp.

3d --, 2018 WL 5276431, at *21–22 (S.D.N.Y. 2018) (citing In re Rezulin Prods. Liab. Litig.,

369 F. Supp. 2d 398, 420 (S.D.N.Y. 2005)) (excluding expert opinions that were “developed for

the purposes of litigation” without use of expert’s outside-of-litigation methodology); Soldo v.

Sandoz Pharm. Corp., 244 F. Supp. 2d 434, 561 (W.D. Pa. 2003) (“Because consistency is a

hallmark of the scientific method, plaintiff’s experts must be required to satisfy their own

standards of reliability.”).

        In her deposition testimony regarding her expert report, Dominguez did not follow the

method she has formulated for her clients. Dominguez has worked at Innovest since its founding

in 1996, and was named president of the firm in 2011. Innovest provides advisory services to a

clientele of public-sector and private-sector employers that sponsor retirement plans. Ex. A, at

27:23–28:4. As president of the firm, Dominguez is responsible for formulating and enforcing

Innovest’s policies and practices. See Curriculum Vitae of Wendy Dominguez, Ex. 2 to Ex. B.

        Foremost among Innovest’s practices is its belief that an investment fund cannot be

properly evaluated by looking simply at its quantitative performance history. REDACTED



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                                       REDACTED




                                          Dominguez describes the “ongoing review of qualitative

factors [as] paramount.” Id. at 42:4–6. As a matter of firm practice, Innovest prepares investment

scorecards for its clients that include evaluations of each fund across a range of criteria:

Organization, People, Philosophy & Process, Style Consistency, Asset Base, Performance,

Expenses, and Overall. See, e.g., Ex. D. Even on a seemingly quantitative metric like

performance, Innovest has an internal process for “adjust[ing] … the performance score for a

particular fund based on [analysts’] qualitative review of the fund.” Ex. A, at 207:12–19.

       Neither Dominguez nor anybody at Innovest was evaluating CREF Stock or TIAA Real

Estate as of 2010, because they did not have any university clients at that juncture. Rather,

Innovest’s first exposure to CREF Stock and TIAA Real Estate came in 2014, when the firm was

commissioned by Colorado’s public university systems to perform an analysis of their optional

retirement plans.                  REDACTED                            . Innovest’s 2014 report

showed that all seven of Colorado’s public university systems offered CREF Stock as an

investment option in their optional retirement plans, and all seven university systems offered

TIAA Real Estate as an investment option.                      REDACTED




       In 2016, Dominguez was named Trustee of Metropolitan State College of Denver. Ex. B,

¶ 20. Under Colorado law, the Board of Trustees has fiduciary responsibility to oversee the

university’s optional retirement plan. Ex. F; Ex. A, at 160:19–161:9. Metropolitan State offers



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both CREF Stock and TIAA Real Estate on its investment lineup. Ex. G; Ex. A, at 165:24–166:9.

                                    REDACTED




       Meanwhile, Innovest has taken on two relevant clients.             REDACTED




                                       The University of Colorado did not initially offer the

TIAA Real Estate Account but added it to its lineup in 2018. At the time, Innovest’s analysis

showed that the Real Estate Account ranked in the bottom percentile of a peer group that

consisted of Real Estate Investment Trusts. For the University of Colorado, Dominguez

dismissed the performance comparison, concluding that she had “No/Minimum Concerns” about

offering a “unique option for participants, providing liquid access to core private real estate.” Ex.

H, at 44; Ex. I, at 27–28.                            REDACTED



               1.      Dominguez’s process for evaluating CREF Stock deviates
                       irretrievably from the process she developed for Innovest.

       For her report, Dominguez abandoned the methodology that she requires as President of

Innovest. She did not consider any qualitative considerations (or even consider any of Innovest’s

prior research on CREF Stock). Instead, she grounds her opinion that CREF Stock was

imprudent on a cursory review of quantitative performance data.

       Dominguez looked at only three data points for CREF Stock. Those data points

demonstrate the hopeless superficiality of Dominguez’s so-called analysis:


                                                 11
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       First, Dominguez opines that CREF Stock was an underperformer because, “[a]s of the

end of 2013 the Stock Account had underperformed [TIAA’s] benchmark for the past 5 and 10

years.” Ex. B, ¶ 95 (citing CREF Form N-CSR (Dec. 31, 2013)). But the document that she cites

to impugn CREF Stock’s performance speaks volumes:2




       For her real-world clients, Dominguez followed a process that would not have required

jettisoning an investment option based on a minor variance from its benchmark—0.05% over

five years and 0.19% over ten years.

       One of Innovest’s clients who publishes its quarterly reports online illustrates this fact. In

a 2016 report, Dominguez gave an overall rating of “Little/No Concern” to a fund that had

underperformed its benchmark by an average of 3.02% per year over a five-year period—60

times the underperformance that she opined required the Cornell Defendants to remove CREF

Stock in order to fit Plaintiffs’ theory of the case. Ex. A, at 198–99 & Ex. D.

       Similarly, Dominguez serves as one of two trustees for her company’s 401(k) plan. When

one of the funds in the Innovest 401(k) plan underperformed its benchmark by 3.48% per year

over a three-year period,                       REDACTED

                                                          Ex. A, at 140–41 & Ex. J; cf., e.g., page

11, supra (blessing TIAA Real Estate performance in out-of-litigation context).




2
 CREF Form N-CSR at 8 (Dec. 31, 2013), https://www.sec.gov/Archives/edgar/data/
777535/000093041314000983/c76098_ncsr.htm.
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       Moreover, for Innovest clients, Dominguez would have deemed CREF Stock to have

outperformed its benchmark. At Innovest, Dominguez’s practice is to net out the expenses of an

investment fund that are rebated to the Plan. Ex. A, at 48:14–20. During the relevant timeframe,

CREF Stock contributed 0.24% of its assets annually toward the Plans’ recordkeeping (and

toward generating rebates for Plan participants). See Ex. K, at 40 (listing CREF Stock Expense

Ratio of 0.24%); Ex. L, at 14 (noting Plans’ receipt of $514,747 revenue credit from TIAA in

2011). Reincorporating that 0.24% recovery would immediately make the supposed

“underperformance” disappear.

       The disparity between Dominguez-as-consultant and Dominguez-as-expert is dramatic,

and it warrants exercise of the Court’s gatekeeping function to carefully consider whether this

expert satisfies the Daubert standard.

       Second, Dominguez prepared a chart of CREF Stock’s performance from year-end 2000

to mid-year 2010 for her report. During that less-than-customary 9½-year period, Dominguez

compared the performance of the CREF Stock Account to a benchmark that she constructed out

of whole cloth—which differs meaningfully from CREF Stock’s actual benchmark:

                                                         CREF Stock        Dominguez’s
                                                         Benchmark3        Benchmark4
       Russell 3000 (U.S. Stocks)                          70.1%             70.0%
       MSCI EAFE+Canada (Stocks from
                                                            21.9%               0.0%
       Europe, Australasia, Far East, and Canada)
       MSCI Emerging Markets (Stocks from
                                                             5.4%               7.0%
       emerging markets)
       MSCI EAFE+Canada Small Cap (Small-
       cap stocks from Europe, Australasia, Far              2.6%               0.0%
       East, and Canada)
       MSCI EAFE (Stocks from Europe,
                                                             0.0%              23.0%
       Australasia, and Far East)

3
  CREF Form N-CSR at 7 (Aug. 31, 2010), http://pdf.secdatabase.com/51/0000930413-10-
004679.pdf.
4
  Ex. B, at Ex. 5.
                                                13
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         Dominguez’s analysis materially misstates CREF Stock’s exposure to emerging markets,

Canadian stocks, and small-cap international stocks. An analysis comparing a fund to the wrong

benchmark is not reliable; indeed, in Sacerdote, Judge Forrest invoked Daubert to exclude

Buetow’s expert testimony because he had compared funds to invalid benchmarks (328 F. Supp.

3d at 282 n.20)—i.e., precisely what Dominguez has done here.

         CREF Stock’s performance against its actual benchmark demonstrates why it is

fundamentally unreliable for an expert to cherry-pick a different benchmark. During the 10-year

period ending mid-year 2010, the performance of CREF Stock was within 0.07% of its

prospectus benchmark over the preceding five-year period and 0.25% over the preceding ten-

year period—before accounting for the 0.24% allocation to recordkeeping fees.5 Unreliable

testimony does nothing to aid the trier of fact, and should be excluded.

         Third, Dominguez asserts that, as of 2013, CREF Stock was in the “bottom 50th

percentile” for performance relative to peers. Ex. B, ¶ 95. But the peer group that she considered

was for large-cap blend funds, which, as she elsewhere explained, “typically invest in domestic

securities only.” Id. ¶ 94 n.99. Given that CREF Stock targeted a 30% allocation to foreign

securities, the performance of CREF Stock relative to U.S.-only alternatives is a meaningless

apples-to-oranges comparison. See Meiners v. Wells Fargo & Co., 898 F.3d 820, 823 (8th Cir.

2018) (explaining that “[t]he fact that one fund with a different investment strategy ultimately

performed better does not establish anything about whether the Wells Fargo TDFs were an

imprudent choice at the outset”). In the reports that she has issued to the University of Colorado,

Dominguez characterizes CREF Stock as a “Global Equity” fund and compared it to a peer

group of global funds. Ex. H, at 40. Her meaningless comparison to domestic funds here should



5
    CREF Form N-CSR, supra note 3, at 7.
                                                14
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be excluded.

               2.      Dominguez’s process for evaluating TIAA Real Estate is similarly
                       flawed.

       Dominguez’s assessment of TIAA Real Estate is equally unsupported. Even though

Innovest obviously has analyzed the Real Estate Account for its clients—concluding that it was

suitable for their 403(b) retirement plans—Dominguez did not consult any of her company’s

research in preparing her opinion on TIAA Real Estate. Ex. A, at 127:12–15. Nor did she follow

the same evaluative process that she uses for her Innovest clients; rather, she ignored the very

factors that establish her qualifications as an expert and formulated an opinion for purposes of

this litigation based on cherry-picked quantitative data-points outside of their proper context. In

other words, she performed expert analysis for this litigation in direct conflict with her own

standard that includes review of qualitative factors as a “paramount” feature. Ex. A, at 42:4–6.

       First, Dominguez invokes a quarterly investment review prepared by Cammack LaRhette

Consulting (which had been used as a trial exhibit in Sacerdote) to support her proposition that

TIAA Real Estate underperformed its peer group as of 2010. This is a classic example of

exalting raw, quantitative data in a manner that would never pass muster for Innovest’s clients.

       When Cammack issued the report in 2010, it conducted a holistic assessment of the Real

Estate Account, concluding that it was a fund worth keeping: “After steep losses in 2009, fund is

predicted to recover with commercial real estate market.” Sacerdote, ECF No. 253–106, at 48.

But Dominguez did not review Cammack’s complete assessment; she looked only at a page that

purported to rank TIAA Real Estate at the bottom of a peer group. And. Dominguez herself

green-lighted the exact same fund under the exact same circumstances. For the University of

Colorado, Dominguez dismissed an assessment that ranked the Real Estate Account in the

bottom percentile, explaining that the fund was not supposed to replicate those peers—it was,


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instead, a “unique option for participants, providing liquid access to core private real estate.” Ex.

H, at 44; Ex. I, at 27–28. Like Innovest, Cammack determined that the peer group was inapt and

did not meaningfully measure the performance of the Real Estate Account. Ex. A, at 126:23–

127:4; Trial Tr. 1269–70, Sacerdote, ECF No. 334.

        Second, Dominguez repeats the errors that Buetow made, leading Judge Forrest to strike

Buetow’s testimony in Sacerdote. She asserts that, “[a]s of the end of 2009, the TIAA Real

Estate Account consistently underperformed its own benchmarks for the preceding 3 and 5

years.” Ex. B, ¶ 102. But that is just a flat-out mischaracterization of the document she cites.

TIAA’s December 2009 quarterly analysis for the Real Estate Account explains that there are

differences between TIAA’s standard methods for pricing its real estate portfolio and the

benchmark’s methodology for pricing real estate. Accordingly, TIAA provides both the returns

under its typical pricing methodology and the returns under the benchmark’s pricing

methodology, explaining that “[i]n order to compare the performance of the TIAA Real Estate

Account with the returns of the REA Composite Index, the Account’s direct real estate property

returns must first be calculated using NCREIF’s methodology.”6 As TIAA’s quarterly analysis

reflects, following that methodology shows that the Real Estate Account outperforms its

benchmark on a 3-year, 5-year, and 10-year basis, and since inception.7 Dominguez considered

only the apples-to-oranges comparison that TIAA deemed inaccurate, without providing any

justification for doing so.

        In Sacerdote, Judge Forrest excluded Buetow’s testimony on TIAA Real Estate because

he did not evaluate the Real Estate Account against the benchmark established by TIAA, 328 F.



6
  TIAA Real Estate Quarterly Analysis 2 (Dec. 31, 2009), https://www.sec.gov/Archives/edgar/
data/946155/000093041310001296/c60587_ex99-1.htm.
7
  Id. at 3.
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Supp. 3d at 311–12; Dominguez replicates those errors without any justification for her sleight of

hand, and such testimony should be similarly excluded by this Court.

       Third, Dominguez makes a series of absolute statements that cannot possibly be

reconciled with her acknowledgment that TIAA Real Estate is appropriate for her client, the

University of Colorado. She says that she generally advises against “real estate sector

investments.” Ex. B, ¶ 108. She says that the Real Estate Account cannot be prudent because it

“offers no benchmark.” Id. ¶ 105. And she says that the Real Estate Account is imprudent

because it has “large cash holdings.” Id. ¶ 107. If Dominguez actually employed any of these

absolute rules in her work at Innovest, then she could not have permitted Innovest to approve

TIAA Real Estate for its clients, or allow a university she serves as a trustee to offer TIAA Real

Estate to its plan participants. Her actions outside of the litigation context preclude her from

offering contrary testimony as a supposed expert to fulfill Plaintiffs’ needs in this case. In re

Mirena IUS Levonorgestrel-Related Prods. Liab. Litig. (No. II), 2018 WL 5276431, at *21–22.

               3.      Dominguez cannot, in any event, offer an opinion on a pure question
                       of law.

       Plaintiffs seek to use Dominguez to tell the jury that Plaintiffs are entitled to hundreds of

millions of dollars of damages. The superficial faux-analysis that led her to that opinion should

be disqualifying in full. In any event, Dominguez’s opinion must also be excluded to the extent

Dominguez reaches the ultimate legal question that is reserved for this Court.

       Specifically, Dominguez impermissibly opines on the legal question whether the Cornell

Defendants acted prudently. Whether a plan fiduciary acted prudently “is measured according to

the objective prudent person standard.” PBGC ex rel. St. Vincent Catholic Med. Ctrs. Ret. Plan v.

Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 716 (2d Cir. 2013) (citations omitted).

Application of that standard presents a legal question, which is why expert opinion on that topic


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is often excluded. See, e.g., Order at 2, Sacerdote, ECF No. 270 (excluding expert testimony on

“the ultimate legal conclusion regarding prudence”); Lynch v. J.P. Stevens & Co., 758 F. Supp.

976, 1014 (D.N.J. 1991) (rejecting expert opinion regarding compliance with ERISA “exclusive

benefit rule” because such testimony “constitutes a legal conclusion”); Jones v. O’Higgins, 1989

WL 103035, at *7–8 (N.D.N.Y. 1989) (dismissing opinion regarding whether investment

strategy “comport[ed] with fiduciary standards” because expert “really testified to a legal

opinion”); see also Browe v. CTC Corp.¸ 2017 WL 5992333, at *3 (D. Vt. 2017) (excluding

testimony regarding characterization of plan under ERISA as “legal opinions” which “seek to

advise the court how to interpret the pleadings and deposition testimony in this case”); Levinson

v. Westport Nat’l Bank, 2012 WL 4489260, at *5–6 (D. Conn. 2012) (excluding expert opinion

concluding that defendant “breached its fiduciary duties to the Plaintiffs” as “an inadmissible

legal conclusion”).

       It is well-settled in the Second Circuit that experts may not express legal conclusions that

invade the province of the court. See United States v. Duncan, 42 F.3d 97, 101 (2d Cir. 1994)

(“this Court requires the exclusion of testimony which states a legal conclusion”); Hygh v.

Jacobs, 961 F.2d 359, 363 (2d Cir. 1992) (“This circuit is in accord with other circuits in

requiring exclusion of expert testimony that expresses a legal conclusion.”). The exclusion of

legal conclusions extends to expert testimony that “usurp[s] either the role of the trial judge in

instructing the jury as to the applicable law or the role of the jury in applying that law to the facts

before it.” Duncan, 42 F.3d at 101 (citations omitted). Impermissible legal opinions “tell [the]

jury what result to reach” and “attempt[] to substitute the expert’s judgment for the jury’s.”

Nimely, 414 F.3d at 397.

       Thus, Dominguez’s analysis of “prudence” amounts to an impermissible legal opinion



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that would need to be stricken irrespective of the quality of her analysis. See Zollinger v. Owens-

Brockway Glass Container, Inc., 233 F. Supp. 2d 349, 354 (N.D.N.Y. 2002) (permitting

causation testimony but excluding testimony “on the ultimate issue” of prudence because “[t]he

trier of fact is perfectly capable of evaluating the totality of the evidence in this regard”).

         B.     Dominguez failed to follow a reliable methodology in evaluating mutual fund
                share classes.

         Dominguez’s share-class opinions similarly fall short of professional standards. By way

of background, since 2011, Cornell has negotiated rebates from TIAA: TIAA collects

administrative revenues from the expense ratios of the Plans’ investment options; if TIAA’s

collections exceed the negotiated rate, the excess is rebated. See, e.g., Ex. M, at 2; Ex. N, at 1–2;

Ex. O.

         The amount that TIAA collects, in turn, is affected by the share classes offered to Plan

participants. Certain share classes generate more administrative-fee revenue than others. But

under Cornell’s negotiated agreement with TIAA, every additional dollar collected in

administrative-fee revenue yields an additional dollar in rebates. Id.; see also Ex. P, ¶¶ 75–79 &

Ex. 2 (summarizing TIAA’s agreement with Cornell).

         When she is working for Innovest’s clients, Dominguez nets out those rebates when

assessing whether a fund has a reasonable expense ratio. Ex. A, at 46:14–24. Here, by contrast,

Dominguez just ignored the rebates without any justification. Id. at 50:13–18.

         Dominguez’s opinion covers the period August 2010 – December 2011. For calendar

year 2011, the supposed “damages” sustained by investing in the “wrong” share class are exactly

equal to the rebates that the Plans would have lost by moving to a different share class—i.e., her

“damages” are entirely attributable to ignoring the rebates. Compare Ex. A, at 52:13–15

(claiming 25 basis points, or 0.25%, of damages arising from share class cost difference), with


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Ex. Q (showing that each of these funds included a 0.25% allowance to offset plan services

expenses).

        This inexcusable oversight, or calculated decision to create the appearance of damages

where none exist, demonstrates that Dominguez is not following any kind of valid, rigorous

process of analysis, and her opinion on share classes should be excluded.

        C.      Dominguez should not be permitted to testify as to the supposed desirability
                of consolidated plan lineups.

        Plaintiffs also seek to have Dominguez tell the jury that Cornell should have consolidated

the funds on the Plans to a best-in-class lineup in 2010. At the motion-to-dismiss stage, this

Court rejected Plaintiffs’ claim that Cornell “fail[ed] to consolidate the Plans’ investment options

into a ‘core lineup,’” as Plaintiffs had failed to “allege that any plan participant was actually

harmed by defendants’ failure to reduce the number of options available.” Dkt. 107, at 13–14.

        Dominguez’s opinion that Cornell should have consolidated to a best-in-class lineup

pertains to a dismissed claim. Accordingly, Dominguez’s testimony on this question should be

excluded as irrelevant. See Fed. R. Evid. 402, 702(a) (requiring that expert opinion address “a

fact in issue” in the case).

        Even if Plaintiffs’ too-many-funds claim remained in the case, Dominguez’s opinion on

this issue is as flawed as her other opinions. Dominguez posits that Cornell should have adopted

in 2010 a best-in-class fund lineup that was proposed in 2014. See Ex. B, ¶ 86. But, as

Dominguez concedes, funds “that had performance issues” in the years leading up to 2014 would

not have been recommended for a consolidated lineup in 2014. Ex. A, at 92:5–10. The logical

flaw of her analysis is glaring. Sitting in 2010—without the benefit of subsequent performance

history—a fiduciary could not have known which funds would have “performance issues.”

        Fiduciary actions must be evaluated “from the perspective of the ‘time of the investment


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decision,’ rather than from ‘the vantage point of hindsight.’” Katsaros v. Cody, 744 F.2d 270,

279 (2d Cir. 1984) (quoting Am. Comm’ns Assoc. v. Ret. Plan, 488 F. Supp. 479, 483 (S.D.N.Y.

1980)). Using 2014 performance data to surmise what would have been the best choices in 2010

is the quintessence of hindsight bias. Dominguez did not examine the universe of funds available

in 2010, and did not determine whether the 2014 funds could have been identified as best-in-

class as of 2010. Ex. A, at 91:17–92:1. As such, Dominguez’s opinions on consolidation are not

the product of a methodology likely to be helpful to the finder of fact, and should be excluded.8

       D.      Dominguez should not be permitted to testify as to the supposed defects with
               funds other than CREF Stock or TIAA Real Estate.

       As noted above, Plaintiffs acknowledged in July 2018 that they had been prosecuting

claims involving only two investment funds: “At present, Plaintiffs have asserted claims for

underperformance damages arising from two options: the CREF Stock Account and TIAA Real

Estate Account.” Dkt. 189 at 6.

       Defendants were entitled to disclosure of the scope of Plaintiffs’ claims at the start and

throughout fact discovery; that is why Rule 26(a)(1) mandates initial disclosures. Having defined

the scope of their claims in fact discovery, Plaintiffs cannot use Dominguez’s report—which she

admits that she wrote jointly with Plaintiffs’ counsel—as a mechanism for introducing claims

about additional funds. Accordingly, any opinions Dominguez may have regarding funds other

than TIAA Real Estate Account and CREF Stock Account are not directed at a “fact in issue” in

the case and should be excluded on that basis. Fed. R. Evid. 702(a).

       These opinions would be excluded regardless. Dominguez provides three justifications


8
  Indeed, Dominguez’s opinions on consolidation are, by her own characterization, predicated on
the “arbitrary selection” of one of the two consolidated lineups that was proposed by
CAPTRUST in 2014—the TIAA lineup, rather than the Vanguard one. Ex. A, at 100:6–18.
Expert testimony that is premised on confessedly irrational decision making cannot be helpful to
the finder of fact.
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for requiring removal of these funds: they do not appear in the best-in-class lineup, they are

sector funds, and/or they failed CAPTRUST’s criteria, as evinced by a 2013 CAPTRUST report.

None of these opinions pass muster.

       First, Dominguez asserts that any fund which is not listed in her best-in-class lineup

necessarily was imprudent. As explained above, this opinion is flawed and should be excluded

because it rests on Dominguez’s unexplained, and inexplicable, contention that Cornell should

have predicted in 2010 which funds would be best-in-class as of 2014. See supra Part I.C.

       Second, Dominguez’s opinions regarding so-called “sector funds” would be subject to

exclusion even if they related to a claim Plaintiffs had kept alive. Dominguez claims that sector

funds are per se imprudent investment options because of their volatility. See Ex. B, ¶ 42. In her

day job, though, Dominguez tells clients that “alternative investments,” such as sector funds, are

an important part of investors’ portfolios because they ensure that the entire portfolio does not

move with the market. Ex. A, at 39:6–24. Similarly, Dominguez testified that REDACTED

                                                                          indeed, one of the sector

funds in question has an expense ratio REDACTED far higher than the expense ratios of the

sector funds she testified about for Plaintiffs in this case. Id. at 141:13–142:5. Thus, the opinions

Dominguez presents regarding sector funds cannot be squared with her preexisting, non-

litigation analysis and should be excluded on that additional basis.

       Third, Dominguez claims that Cornell should have excluded 138 investments based on a

CAPTRUST presentation dated July 31, 2013 because they were “failing quantitative criteria.”

Report ¶ 69. The CAPTRUST presentation in question, however, identified only 16 of these

funds as failing the quantitative criteria; the remaining were characterized by CAPTRUST as

meeting the relevant criteria. See CORNELL020122 (CAPTRUST Presentation to RPOC, July



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31, 2013). Moreover, it is not Dominguez’s practice at Innovest to eliminate funds based only

on quantitative data—but Dominguez did not conduct any of the qualitative analysis that she

conducts for Innovest clients.

II.    BUETOW’S OPINIONS SHOULD LIKEWISE BE EXCLUDED

       Dr. Buetow’s opinions should also be excluded in this case. By Buetow’s own account,

his opinions are entirely derivative of Dominguez’s analysis (Ex. R, ¶¶ 22–25); if her opinions

are excluded, then, his report and testimony must be excluded as well. Indeed, Dr. Buetow

claimed not to be offering opinions at all, explaining that his role was simply to calculate

damages based on the fund mapping opinions provided by Ms. Dominguez. Ex. S, at 24:15–21.

And Buetow further testified that he was not opining that the mapping he used to generate

damage calculations, which was provided to him by Plaintiffs’ counsel, was an appropriate

mapping for the funds in this case. Id. at 47:16–48:2 (explaining that he was “provided by

counsel” the “best in class” lineup), 49:23–50:3 (disclaiming any opinion that the mapping used

“to generate those damages is an appropriate mapping for assets in the fund”). Thus, the material

in Buetow’s report is relevant—if at all—only if the fund mapping opinions provided by

Dominguez are admissible; since they are not, for the reasons provided above (see Part I, supra),

Buetow’s report should also be excluded.

       Even if Dominguez’s report and testimony were not excluded, however, Buetow’s

opinions would be inadmissible. First, despite his representations, Buetow actually offers a key

substantive opinion. Without any guidance from Dominguez, Buetow decided which legacy

funds should be mapped to which of the funds in Dominguez’s culled lineup.

       Buetow did not disclose his methodology for the mapping exercise, so the finder of fact

cannot rely on it to understand how to evaluate his opinions.          REDACTED


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                                   REDACTED




               Buetow was not “merely a human calculator,” as he put it, which makes it

impossible for the finder of fact to know exactly how he obtained the damages results proffered

in his report. Id. at 41:15. Thus, these opinions must be stricken. See Fed. R. Civ. P. 26(a)(2)(B)

(“The [expert] report must contain ... a complete statement of all opinions the witness will

express and the basis and reasons for them”); see also United States v. Ulbricht, 858 F.3d 71,

116 (2d Cir. 2017) (“The district court cannot perform that complex evaluation of an expert’s

proposed methodology without a clear articulation of what the expert’s opinions are and, even

more importantly, of the bases for those opinions.”); Water Pollution Control Auth. of City of

Norwalk v. Flowserv US Inc., 2018 WL 1525709, at *17 (D. Conn. 2018) (excluding expert

report lacking calculations and data upon which opinion was based because “the Court cannot

determine” whether expert report was reliable); Tomaselli v. Zimmer, Inc., 2017 WL 2820065, at

*8 (S.D.N.Y. 2017) (collecting cases and noting that “[c]ourts therefore routinely preclude an

expert from testifying about matters that exceed those topics addressed in his Rule 26 report,”);

LaSalle Bank Nat’l Ass’n v. CIBC Inc., 2012 WL 466785, at *9 (S.D.N.Y. 2012) (“Opinions that

are not disclosed in the expert’s report cannot be offered.”).

       Second, Buetow’s undisclosed mapping opinions do not follow his outside-of-litigation

practices, providing further reason to reject them. In his non-litigation work, Buetow develops

fund mappings by crafting a mapping algorithm, evaluating its output, and adjusting the



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algorithm until it makes sense. Ex. S, at 64:18–24; 65:13–17. By doing so, Buetow is able to

identify flaws in his reasoning and correct them; for example, he can identify situations in which

the algorithm’s output leads him to believe that the “asset classes that we’re defining need to be

broadened or added to.” Id. at 64:8–14. Here, by contrast, Buetow used no algorithm to construct

his mapping, relying instead on his intuition. Id. at 65:18–23. And after generating a mapping,

Buetow did nothing to verify that the mapping was appropriate. Id. at 88:13–89:6. Unlike his

normal iterative approach, then, which finds and corrects errors that may have infected his

analysis, the work Buetow did in this case was off-the-cuff and lacked any verification that it

was generating accurate results.

       Unsurprisingly, then, Buetow himself identified a number of errors in his calculations,

from using the wrong month’s numbers in his figures (Ex. S, at 113:20–114:8) to pulling the

wrong numbers from spreadsheets to identify as damages (Id. at 124:7–9) to overrides of his

analysis caused by mistaken copy-and-paste of numbers in his Excel workbooks (Id. at 19:5–7).

Buetow put it best by admitting: “This was sloppy on my part.” Id. at 114:3. The opinions of an

expert who commits “many errors in his analyses” lack “sufficient indicia of reliability” to be of

use. Lippe v. Bairnco Corp., 288 B.R. 678, 694 (S.D.N.Y. 2003). Thus, they should be excluded.

       In short, Buetow’s opinions are irrelevant in light of the exclusion that should be granted

for Dominguez’s opinions and also unreliable because they are derived from a methodology not

disclosed in his report, inconsistent with his non-litigation methods, and admittedly riddled with

errors. They should be excluded whether or not Dominguez is permitted to testify on any issue.

                                         CONCLUSION

       For the foregoing reasons, the Court should exclude the expert opinions of Wendy

Dominguez and Gerald Buetow and order that neither may testify at trial.



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Dated: January 25, 2019                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that, on January 25, 2019, a copy of the foregoing was filed electronically

using the Court’s CM/ECF system, which will provide notice of the filing to all counsel of

record.

                                                      By:    /s/ Brian D. Netter
                                                            Brian D. Netter
